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                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


UNITED STATES OF AMERICA                            3:22-cr-402-MO

                v.                                  INDICTMENT

CEDRIC WILSON,                                      18 U.S.C. § 922(g)(l)

                Defendant.                          Forfeiture Allegation

                                                    UNDER SEAL


                              THE GRAND JURY CHARGES:

                                          COUNT 1
                              (Felon in Possession of a Firearm)
                                    (18 U.S.C. § 922(g)(l))


        On or about October 24, 2022, defendant CEDRIC WILSON knowing tl~at he had

previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

specifically:

    (1) Robbery, in violation of Ohio State Statute 291 1.02(A)(3), in Hamilton County, State of

        Ohio, on or about December 16, 2004;

did knowingly and unlawfully possess the following firearm:

    (1) A HK P30 handgun; ·s erial number: 219-022195;

    Which firearm had previously been shipped or transported in interstate or foreign commerce;


Indictment                                                                                Pagel
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   In violation of Title 18, United States Code, Section 922(g)(l).



                                FORFEITURE ALLEGATION

       Upon conviction of the offense in Count 1, defendant shall forfeit to the Unit_ed States

pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the firearm involved in that offense,

including without limitation:


   (1) A HK P30 handgun; serial number: 219-022195 ·



               /
Dated: November~. 2022                               A TRUE BILL.




Presented by:

NATALIE K. WIGHT
United States A



NIC LE . BO          LMAN, OSB #105934
THOMAS H. EDMONDS, OSB #902555
Assistant United States Attorney




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Indictment                                                                                    J.>age2
